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AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                           District of NEVADA

                  United States of America                         )
                             v.                                    )      Case No. 2:15-cr-00062-JCM-CWH-3
                                                                   )
                       ANGEL JUAREZ                                )
                             Defendant                             )

                                         ORDER SCHEDULING A DETENTION HEARING


          A detention hearing in this case is scheduled as follows:

          Lloyd D. George U.S. Courthouse
Place:    333 Las Vegas Blvd., So.                                        Courtroom No.:      3C
          Las Vegas, NV 89101
                                                                          Date and Time:      3/13/2015 at 3:00 p.m.


        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:        March 11, 2015
                                                                                             Judge’s signature


                                                                               NANCY J. KOPPE, U.S. Magistrate Judge
                                                                                           Printed name and title
